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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

George A. Hedick Jr., et al.
                                         Plaintiff,
v.                                                         Case No.: 1:19−cv−01339
                                                           Honorable Jorge L. Alonso
The Kraft Heinz Company, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 12, 2023:


        MINUTE entry before the Honorable Jorge L. Alonso: Settlement hearing held.
For the reasons stated on the record, Plaintiffs' Motion for final approval of settlement and
plan of allocation [480] is granted. Lead Counsel's Motion for attorneys' fees and litigation
expenses [482] is granted. Enter Orders. This case is dismissed with prejudice. Civil case
terminated. Notice mailed by Judge's staff (lf, )




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